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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA

________________________________________________________________________

United States of America,                                Criminal No. 10-169 (RHK/JSM)

                    Plaintiff,                                          ORDER

v.

Justin Lussier,

               Defendant.
________________________________________________________________________

       This matter is before the Court upon the Defendant=s Motion to Continue the Jury

Trial Date (Doc. No. 91) and Motion to Exclude Time Under the Speedy Trial Act (Doc.

No. 92), to exclude the time from December 6, 2010 through April 6, 2011, from the

Speedy Trial Act computations in this case. Pursuant to 18 U.S.C. ' 3161(h)(7)(A), the

Court finds that the ends of justice served by the granting of such continuance outweigh

the best interest of the public and the Defendant in a speedy trial.

       Accordingly, IT IS ORDERED that the Motions to Continue the Jury Trial Date

and Exclude Time Under the Speedy Trial Act (Doc. Nos. 91 and 92) are GRANTED

and the period from December 6, 2010, through April 6, 2011, shall be excluded from the

Speedy Trial Act computations in this case.


Dated: February 23, 2011
                                           s/Richard H. Kyle
                                           RICHARD H. KYLE
                                           United States District Judge
